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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                  Case No. 21-cr-173 (PJS/DTS)

    UNITED STATES OF AMERICA,

                 Plaintiff,

    v.                                           UNITED STATES PROPOSED
                                                 FORFETIURE JURY
    ANTON JOSEPH LAZZARO,                        INSTRUCTIONS
      a/k/a Tony Lazzaro,
      a/k/a Tony,

                 Defendant.

         Members of the jury:

         You have reached a verdict that ANTON JOSEPH LAZZARO is guilty of Counts
[1-7] of the Indictment. You now have one more task to perform. I must ask you to render
a special verdict concerning property the United States has alleged is subject to forfeiture
to the United States. Forfeiture means the defendant loses any ownership or interest he has
or claims to have in the property as a part of the penalty for engaging in criminal activity.
You need not concern yourself with any other person’s interest in the property. I will take
care of any such claims. Your only concern is with defendant ANTON JOSEPH
LAZZARO’s interest in the property.1

         The United States alleges that the following property is subject to forfeiture because
they were involved in, used or intended to be used to commit or facilitate the commission
of Conspiracy to Commit Sex Trafficking of Minors as charged in Count 1 of the
Indictment and/or Sex Trafficking of a Minor, Attempted Sex Trafficking of a Minor and
Sex Trafficking – Obstruction as charged in Counts 2-7 of the Indictment:
1
 [Based on the Eighth Circuit Manual of Model Criminal Jury Instructions for the
District Courts of the Eighth Circuit – 6.21.853]
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       1. the real property located at 201 11th Street South, #1920, Minneapolis, MN
          55402;

       2. 2010 Ferrari Convertible, VIN ZFF65LJA9A0173846;
       3. Apple iPhone model A1662 cellphone seized from 201 11th Street South, #1920,
          Minneapolis, MN 55402 on December 15, 2020;

       4. Blackberry cellphone with 32 GB SD Card with IMEI: 015103000107958; and

       5. Google Pixel 4A cellphone, Model G025 with IMEI 358118100229242.

       You must determine what property, if any, is subject to forfeiture. With respect to
Counts 1-7, property is subject to forfeiture if the United States has proved, by the greater
weight of the evidence, that the property was involved in, used or intended to be used to
commit or facilitate the commission of Counts 1-7.

       Property which “facilitates” the commission of a sex trafficking violation includes
property which makes the commission of the violations easier or is used to assist in the
commission of the violation.

       To prove something by the greater weight of the evidence is to prove that it is more
likely true than not true. The decision is made by considering all of the evidence on the
subject and deciding which evidence you believe. Each party is entitled to the benefit of all
evidence received, regardless of who offered the evidence. Greater weight of the evidence
is a lesser standard, that is, a less strict standard, than proof beyond a reasonable doubt.

       While deliberating, you may consider any evidence offered by the parties at any
time during the trial, including testimony offered by the United States or the defendant
before or after your previous deliberations.
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       All of my previous instructions [regarding (identify the applicable instructions by
title or number, e.g., Credibility of Witnesses and Duty to Deliberate),] apply with respect
to this special verdict.
       A Special Verdict Form has been prepared for your use. With respect to the property,

you are asked to determine unanimously whether it is to be forfeited to the United States.

You may answer by writing “yes” or “no” on the spaces provided on the Special Verdict

form. The foreperson must then sign and date the special verdict form.
